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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COURT
                                                                        for the                                               FILED
                                                                                                                             Jun 30, 2020
                                                          Eastern District of California                                  CLERK, U.S. DISTRICT COURT
                                                                                                                        EASTERN DISTRICT OF CALIFORNIA



              In the Matter of the Search of                        )
                                                                    )
   INFORMATION ASSOCIATED WITH
                                                                    )                Case No.     2:20-sw-0590 CKD
 TWITTER ACCOUNT VST09361525 THAT IS
 STORED AT PREMISES CONTROLLED BY
              TWITTER

                                    APPLICATION FOR A SEARCH WARRANT
                                                                    )
                                                                    )
                                                                    )                      SEALED
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

SEE ATTACHMENT A, attached hereto and incorporated by reference.
located in the              Eastern               District of               California             , there is now concealed (identify the
person or describe the property to be seized):

SEE ATTACHMENT B, attached hereto and incorporated by reference
          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
              ; evidence of a crime;
                   contraband, fruits of crime, or other items illegally possessed;
          The search is related to a violation of:
             Code Section                                                            Offense Description
18 U.S.C. §§ 2252(a)(2), 2252(a)(1)
              & (2)                                             Distribution, Receipt and Attempted Receipt of Child Pornography
    18 U.S.C. § 2252(a)(4)(B)                                                    Possession of Child Pornography

          The application is based on these facts:
SEE AFFIDAVIT, attached hereto and incorporated by reference.
           ; Continued on the attached sheet.
             Delayed notice          days (give exact ending date if more than 30                                              ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                  Applicant’s signature

                                                                                   Orcina Pacheco-Garcia , Special Agent, FBI
                                                                                                  Printed name and title
Sworn to before me and telephonicallysigned in my
presence. Date: -XQHDWSP
                                                                                                    Judge’s signature

City and state: Sacramento, California                                             Carolyn K. Delaney, U.S. Magistrate Judge
                                                                                                  Printed name and title
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                        IN THE UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF CALIFORNIA


In the Matter of the Search of:                     CASE NO.


                                                    AFFIDAVIT IN SUPPORT OF AN APPLICATION
INFORMATION ASSOCIATED WITH
                                                    FOR A SEARCH WARRANT
TWITTER ACCOUNT: VST09361525 THAT
IS STORED AT PREMISES CONTROLLED
BY TWITTER
                                                    FILED UNDER SEAL




                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Orcina Pacheco-Garcia, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with a certain Twitter account that is stored at premises owned,

maintained, controlled, or operated by Twitter, a social-networking company headquartered in

San Francisco, CA. The information to be searched is described in the following paragraphs and
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in Attachment A. This affidavit is made in support of an application for a search warrant under

18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require Twitter to disclose to the

government records and other information in its possession, pertaining to the subscriber or

customer associated with the Twitter account.

        2.      I am a Special Agent with the Federal Bureau of Investigation and have been

since March 2019. I have worked for the Federal Bureau of Investigation in other capacities

since September 2017. I am currently assigned to the Sacramento Division. While employed by

the FBI, I have investigated federal criminal violations related to, among other things, the

exploitation of children and human trafficking. I have gained experience through training at the

FBI Academy as well as by conducting these types of investigations. As part of my daily duties,

I investigate criminal violations relating to child exploitation and child pornography, including

violations pertaining to the illegal distribution, receipt, and possession of child pornography, in

violation of 18 U.S.C. §§ 2252, and 2252A.       Moreover, I am a federal law enforcement officer

who is engaged in enforcing the criminal laws, including 18 U.S.C. §§ 2252, and 2252A and I

am authorized by the Attorney General to request a search warrant.

        3.      The FBI is currently investigating the possession, receipt, and distribution of child

pornography through the Internet, and specifically Twitter. Based on my training and experience

and the facts set forth in this Affidavit, there is probable cause to believe that violations of (i)

Title 18, United States Code, Sections 2252(a)(2) and 2252A(a)(1)&(2) (Distribution of Child

Pornography); (ii) Title 18, United States Code, Section 2252(a)(4)(B) (Possession of Child

Pornography); and (iii) Title 18, United States Code, Sections 2252(a)(2) (Receipt of Child

Pornography and Attempted Receipt of Child Pornography) have been committed. There is also



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probable cause to search the information described in Attachment A for evidence,

instrumentalities, contraband or fruits of these crimes further described in Attachment B.

        4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

        5.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of (i) Title 18, United States Code, Sections

2252(a)(2) and 2252A(a)(1)&(2) (Distribution of Child Pornography); (ii) Title 18, United States

Code, Section 2252(a)(4)(B) (Possession of Child Pornography); and (iii) Title 18, United States

Code, Sections 2252(a)(2) (Receipt of Child Pornography and Attempted Receipt of Child

Pornography) have been committed. I believe that there is probable cause to believe that

evidence, fruits, instrumentalities of these offenses will be found in the account described in

Attachment A, as set forth in Attachment B.

                                          JURISDICTION

        6.      This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has

jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

                                      Background on Twitter

        7.      Twitter owns and operates a free-access social-networking website of the same

name that can be accessed at http://www.twitter.com. Twitter allows its users to create their own

profile pages, which can include a short biography, a photo of themselves, and location

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information. Twitter also permits users create and read 140-character messages called “Tweets,”

and to restrict their “Tweets” to individuals whom they approve. These features are described in

more detail below.

         8.    Upon creating a Twitter account, a Twitter user must create a unique Twitter

username and an account password, and the user may also select a different name of 20

characters or fewer to identify his or her Twitter account. The Twitter user may also change this

username, password, and name without having to open a new Twitter account.

         9.    Twitter asks users to provide basic identity and contact information, either during

the registration process or thereafter. This information may include the user’s full name, e-mail

addresses, physical address (including city, state, and zip code), date of birth, gender, hometown,

occupation, and other personal identifiers. For each user, Twitter may retain information about

the date and time at which the user’s profile was created, the date and time at which the account

was created, and the Internet Protocol (“IP”) address at the time of sign-up. Because every

device that connects to the Internet must use an IP address, IP address information can help to

identify which computers or other devices were used to access a given Twitter account.

         10.   A Twitter user can post a personal photograph or image (also known as an

“avatar”) to his or her profile, and can also change the profile background or theme for his or her

account page. In addition, Twitter users can post “bios” of 160 characters or fewer to their profile

pages.

         11.   Twitter also keeps IP logs for each user. These logs contain information about the

user’s logins to Twitter including, for each access, the IP address assigned to the user and the

date stamp at the time the user accessed his or her profile.



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       12.     As discussed above, Twitter users can use their Twitter accounts to post “Tweets”

of 140 characters or fewer. Each Tweet includes a timestamp that displays when the Tweet was

posted to Twitter. Twitter users can also “favorite,” “retweet,” or reply to the Tweets of other

users. In addition, when a Tweet includes a Twitter username, often preceded by the @ sign,

Twitter designates that Tweet a “mention” of the identified user. In the “Connect” tab for each

account, Twitter provides the user with a list of other users who have “favorited” or “retweeted”

the user’s own Tweets, as well as a list of all Tweets that include the user’s username (i.e., a list

of all “mentions” and “replies” for that username).

       13.     Twitter users can include photographs or images in their Tweets. Each Twitter

account also is provided a user gallery that includes images that the user has shared on Twitter,

including images uploaded by other services.

       14.     Twitter users can also opt to include location data in their Tweets, which will

reveal the users’ locations at the time they post each Tweet. This “Tweet With Location”

function is off by default, so Twitter users must opt in to the service. In addition, Twitter users

may delete their past location data.

       15.     When Twitter users want to post a Tweet that includes a link to a website, they

can use Twitter’s link service, which converts the longer website link into a shortened link that

begins with http://t.co. This link service measures how many times a link has been clicked.

       16.     A Twitter user can “follow” other Twitter users, which means subscribing to

those users’ Tweets and site updates. Each user profile page includes a list of the people who are

following that user (i.e., the user’s “followers” list) and a list of people whom that user follows

(i.e., the user’s “following” list). Twitters users can “unfollow” users whom they previously

followed, and they can also adjust the privacy settings for their profile so that their Tweets are

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visible only to the people whom they approve, rather than to the public (which is the default

setting). A Twitter user can also group other Twitter users into “lists” that display on the right

side of the user’s home page on Twitter. Twitter also provides users with a list of “Who to

Follow,” which includes a few recommendations of Twitter accounts that the user may find

interesting, based on the types of accounts that the user is already following and who those

people follow.

        17.      In addition to posting Tweets, a Twitter user can also send Direct Messages

(DMs) to one of his or her followers. These messages are typically visible only to the sender and

the recipient, and both the sender and the recipient have the power to delete the message from the

inboxes of both users. As of January 2012, Twitter displayed only the last 100 DMs for a

particular user, but older DMs are stored on Twitter’s database.

        18.      Twitter users can configure the settings for their Twitter accounts in numerous

ways. For example, a Twitter user can configure his or her Twitter account to send updates to the

user’s mobile phone, and the user can also set up a “sleep time” during which Twitter updates

will not be sent to the user’s phone.

        19.      Twitter includes a search function that enables its users to search all public

Tweets for keywords, usernames, or subject, among other things. A Twitter user may save up to

25 past searches.

        20.      Twitter users can connect their Twitter accounts to third-party websites and

applications, which may grant these websites and applications access to the users’ public Twitter

profiles.

        21.      If a Twitter user does not want to interact with another user on Twitter, the first

user can “block” the second user from following his or her account.

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       22.     In some cases, Twitter users may communicate directly with Twitter about issues

relating to their account, such as technical problems or complaints. Social-networking providers

like Twitter typically retain records about such communications, including records of contacts

between the user and the provider’s support services, as well as records of any actions taken by

the provider or user as a result of the communications. Twitter may also suspend a particular user

for breaching Twitter’s terms of service, during which time the Twitter user will be prevented

from using Twitter’s services.

       23.     As explained herein, information stored in connection with a Twitter account may

provide crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct

under investigation, thus enabling the United States to establish and prove each element or

alternatively, to exclude the innocent from further suspicion. In my training and experience, a

Twitter user’s account information, IP log, stored electronic communications, and other data

retained by Twitter, can indicate who has used or controlled the Twitter account. This “user

attribution” evidence is analogous to the search for “indicia of occupancy” while executing a

search warrant at a residence. For example, profile contact information, communications,

“tweets” (status updates) and “tweeted” photos (and the data associated with the foregoing, such

as date and time) may be evidence of who used or controlled the Twitter account at a relevant

time. Further, Twitter account activity can show how and when the account was accessed or

used. For example, as described herein, Twitter logs the Internet Protocol (IP) addresses from

which users access their accounts along with the time and date. By determining the physical

location associated with the logged IP addresses, investigators can understand the chronological

and geographic context of the account access and use relating to the crime under investigation.

Such information allows investigators to understand the geographic and chronological context of

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Twitter access, use, and events relating to the crime under investigation. Additionally, Twitter

builds geo-location into some of its services. If enabled by the user, physical location is

automatically added to “tweeted” communications. This geographic and timeline information

may tend to either inculpate or exculpate the Twitter account owner. Last, Twitter account

activity may provide relevant insight into the Twitter account owner’s state of mind as it relates

to the offense under investigation. For example, information on the Twitter account may

indicate the owner’s motive and intent to commit a crime (e.g., information indicating a criminal

plan) or consciousness of guilt (e.g., deleting account information in an effort to conceal

evidence from law enforcement).

       24.     Therefore, the computers of Twitter are likely to contain all the material described

above, including stored electronic communications and information concerning subscribers and

their use of Twitter, such as account access information, transaction information, and other

account information.

                                      Statutory Definitions

       25.     “Child Pornography” includes the definition found at 18 U.S.C. § 2256(8), and is

any visual depiction of sexually explicit conduct where (a) the production of the visual depiction

involved the use of a minor engaged in sexually explicit conduct, (b) the visual depiction is a

digital image, computer image, or computer generated image that is, or is indistinguishable from,

that of a minor engaged in sexually explicit conduct, or (c) the visual depiction has been created,

adapted, or modified to appear that an identifiable minor is engaged in sexually explicit conduct.

       26.     As used in this Affidavit, “child erotica” means materials or items that are

sexually arousing to certain individuals but that are not in and of themselves obscene or do not

necessarily depict minors in sexually explicit poses or positions. Such material may include non

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sexually explicit photographs (such as minors depicted in undergarments in department store

catalogs or advertising circulars), drawings, or sketches, written descriptions/stories, or journals.

       27.     “Visual depictions” include undeveloped film and videotape, and data stored on

computer disk or by electronic means, which is capable of conversion into a visual image. See

18 U.S.C. § 2256(5).

       28.     “Minor” means any person under the age of eighteen years. See 18 U.S.C. §

2256(1).

       29.     “Sexually explicit conduct” means actual or simulated (a) sexual intercourse,

including genital genital, oral genital, genital-anal, or oral anal, whether between persons of the

same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e)

lascivious exhibition of the genitals or pubic area of any persons. See 18 U.S.C. § 2256(2).

             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       30.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant

to require Twitter to disclose to the government copies of the records and other information

(including the content of communications) particularly described in Section I of Attachment B.

Upon receipt of the information described in Section I of Attachment B, government-authorized

persons will review that information to locate the items described in Section II of Attachment B.

                                       PROBABLE CAUSE


       31.     On May 27, 2020, the FBI Sacramento Field Office received a National Center

for Missing and Exploited Children (NCMEC), CyberTipline Report, from the Sacramento

County Sheriff’s Office. Twitter submitted CyberTipline Report 66559321 concerning the

possession and distribution of child pornography images by Twitter username Vst09361525.
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       32.    Twitter NCMEC report for User ID Vst09361525, provided the following account

information: ESP User ID 1242134010387525633, phone number (279) 201-1431 and a log of

recent IP addresses. IP addresses 67.174.35.178 was used to register Twitter account on

03/23/2020 at 17:00:16 UTC and additionally used for subsequent logins on 03/25/2020 at

23:48:11 UTC and 03/25/2020 at 23:47:59 UTC. IP address 67.182.169.16 accessed on

03/26/2020 at 20:30:48 UTC and on 03/26/2020 at 20:33:00 UTC were used to login into the

subject’s Twitter account. IP addresses 67.174.35.178 and 67.182.169.16 were identified as

belonging to Comcast communications. An Administrative Subpoena was sent to Comcast for

information associated with IP addresses.

       33.    On June 4, 2020, Comcast provided subscriber information for the IP address

67.174.35.178 and 67.182.169.16. The IP addresses were associated with the Subscriber Name

“Paul Bailey,” a subscriber address of 8507 Central Ave, Orangevale, Ca 95662, and the phone

number (916) 406-3799.

       34.    A subpoena was issued to Comcast for subscriber information on phone number

(279) 201-4131. On June 22, 2020, Comcast provided the following subscriber information:

Subscriber Name: Paul Bailey, Address: 8507 Central Ave, Orangevale, CA 95662, Bill-To

Name: Joey Campbell, Start of Service: 12/13/2019 and Status: Active.

                                Review of Images and Videos


       35.    As part of my investigation, I received all of the above information and reviewed

the NCMEC CyberTipline Report 66559321 regarding the suspected child pornography files that

were uploaded to the Twitter account associated with IP address 67.174.35.178 and

67.182.169.16. Based on my review of the files provided, the Twitter account contained 16


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images depicting child pornography and erotica. Twitter reviewed and confirmed the images as

child pornography prior to sending the report to NCMEC.

       36.    On June 03, 2020, a preservation letter was sent to Twitter for User ID

Vst09361525. On June 4, 2020, Twitter responded to the Preservation Letter with the following

response: “We can confirm Twitter suspended and reported the account, @Vst09361525, to the

National Center for Missing and Exploited Children (NCMEC). Along with our report, we

provide a preservation .zip of the account to NCMEC.”

       37.    As part of my investigation, I received all of the above information and reviewed

the NCMEC CyberTipline Report 66559321 regarding the suspected child pornography files that

were uploaded to the Twitter account associated with IP address 67.174.35.178 and

67.182.169.16 and phone number phone number (279) 201-1431. Based on my review of the

files provided, the Twitter account contained approximately 16 images depicting child

pornography and erotica. The following are samples of the image files containing child

pornography that were associated with this Twitter account and which I reviewed:

              A.      Twitter File Name “5ntKj8s0”
              Description of file: This is an image depicting a prepubescent girl appearing to be
              the age of a toddler. The toddler is sitting with her face towards the camera and
              there is a male penis in front of her with the head of the penis touching her lips.
              One of her hands is placed over the head of the penis while the other lies on top of
              a pink doll.
              B.      Twitter File Name “IVZTQpv9”
              Description of file: This is an image depicting a prepubescent girl who is lying
              down, face up, her legs open and her hands up. She is wearing a tiger costume in
              the form of a dress with an artificial nose. The dress is lifted up from the waist
              down and there is a male penis penetrating her small vagina.




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               C.      Twitter File Name “a9XwrfXl”
               Description of file: This is an image depicting a prepubescent girl, fully naked
               standing in front of a brown table. The girl is holding on to the table, as a fully
               naked, male adult, stands behind her, appearing to be penetrating her from behind.
               The male has his hand pressed on the front of her hip while he pulls her hair back,
               tilting her head back.
                                         CONCLUSION

       38.     Based on the forgoing, I request that the Court issue the proposed search warrant.

       39.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

       40.     The government will execute this warrant by serving the warrant on Twitter.

Because the warrant will be served on Twitter, who will then compile the requested records at a

time convenient to it, reasonable cause exists to permit the execution of the requested warrant at

any time in the day or night.

                                   REQUEST FOR SEALING

       41.     I further request that the Court order that all papers in support of this application,

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of



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      the targets of the investigation. Accordingly, there is good cause to seal these documents

      because their premature disclosure may seriously jeopardize that investigation.

                                                Respectfully submitted,



                                                Orcina Pacheco-Garcia
                                                Special Agent
                                                Federal Bureau of Investigation



Sworn to me over the telephone and
signed by me pursuant to Fed. R.
Crim. P. 41(d)(3) on:                    -XQHDWSP




 __________________________________________
  ___________________________  ___
                               __
 The Honorable
  he Honorable Carolyn K.
      on               K Delaney
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 UNITED STATES MAGISTRATE JUDGE




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Approved as to form by AUSA ROGER YANG




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                                     ATTACHMENT A

                                   Property to Be Searched

       This warrant applies to information associated with the Twitter profile with username

@Vst09361525 at https://twitter.com/Vst09361525 that is stored at premises owned, maintained,

controlled, or operated by Twitter, a company headquartered in San Francisco, California.
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                                       ATTACHMENT B

                                 Particular Things to be Seized

I.     Information to be disclosed by Twitter

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Twitter, including any messages, records, files, logs, or information that

have been deleted but are still available to Twitter, or have been preserved pursuant to a request

made under 18 U.S.C. § 2703(f), Twitter is required to disclose the following information to the

government for each account listed in Attachment A:


       a.      All identity and contact information, including full name, e-mail address, physical
               address (including city, state, and zip code), date of birth, gender, hometown,
               occupation, and other personal identifiers;

       b.      All past and current usernames, account passwords, and names associated with
               the account;

       c.      The dates and times at which the account and profile were created, and the
               Internet Protocol (“IP”) address at the time of sign-up;

       d.      All IP logs and other documents showing the IP address, date, and time of each
               login to the account;

       e.      All data and information associated with the profile page, including photographs,
               “bios,” and profile backgrounds and themes;

       f.      All “Tweets” and Direct Messages sent, received, “favorited,” or retweeted by the
               account, and all photographs or images included in those Tweets and Direct
               Messages;

       g.      All information from the “Connect” tab for the account, including all lists of
               Twitter users who have favorited or retweeted Tweets posted by the account, as
               well as a list of all Tweets that include the username associated with the account
               (i.e., “mentions” or “replies”);

       h.      All photographs and images in the user gallery for the account;

       i.      All location data associated with the account, including all information collected
               by the “Tweet With Location” service;

       j.      All information about the account’s use of Twitter’s link service, including all
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               longer website links that were shortened by the service, all resulting shortened
               links, and all information about the number of times that a link posted by the
               account was clicked;

       k.      All data and information that has been deleted by the user;

       l.      A list of all of the people that the user follows on Twitter and all people who are
               following the user (i.e., the user’s “following” list and “followers” list);

       m.      A list of all users that the account has “unfollowed” or blocked;

       n.      All “lists” created by the account;

       o.      All information on the “Who to Follow” list for the account;

       p.      All privacy and account settings;

       q.      All records of Twitter searches performed by the account, including all past
               searches saved by the account;

       r.      All information about connections between the account and third-party websites
               and applications;

       s.      All records pertaining to communications between Twitter and any person
               regarding the user or the user’s Twitter account, including contacts with support
               services, and all records of actions taken, including suspensions of the account.

Twitter is hereby ordered to disclose the above information to the government within 14 days of

issuance of this warrant.


II.    Information to be seized by the government


All information described above in Section I that constitutes fruits, evidence, and

instrumentalities of violations of (i) Title 18, United States Code, Sections 2252(a)(2) and

2252A(a)(1)&(2) (Distribution of Child Pornography); (ii) Title 18, United States Code, Section

2252(a)(4)(B) (Possession of Child Pornography); and (iii) Title 18, United States Code,

Sections 2252(a)(2) (Receipt of Child Pornography and Attempted Receipt of Child

Pornography) involving Vst09361525 since 03/23/2020, including, for each user ID identified on

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Attachment A, information pertaining to the following matters:


               a. Evidence of a sexual interest in minors;

               b. Sexually explicit communications and/or chats with, and receipt of sexually
                  explicit images/videos from minors;

               c. Evidence indicating how and when the Twitter account was accessed or used,
                  to determine the chronological and geographic context of account access, use,
                  and events relating to the crime under investigation and to the Twitter account
                  owner;

               d. Evidence indicating the Twitter account owner’s state of mind as it relates to
                  the crime under investigation;

               e. The identity of the person(s) who created or used the user ID, including
                  records that help reveal the whereabouts of such person(s).

               f. The identity of the person(s) who communicated with the user ID about
                  matters relating to, sexually explicit communications and/or chats with, and
                  receipt of sexually explicit images/videos from minors including records that
                  help reveal their whereabouts.

       This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence,

fruits, and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




                                                 3
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AO 93 (Rev. 11/13) Search and Seizure Warrant


                                           UNITED STATES DISTRICT COURT
                                                                              for the
                                                                Eastern District of California

                  In the Matter of the Search of                          )
                                                                          )
    INFORMATION ASSOCIATED WITH TWITTER                                   )             Case No.    2:20-sw-0590 CKD
    ACCOUNT VST09361525 THAT IS STORED AT
       PREMISES CONTROLLED BY TWITTER
                                                                          )
                                                                          )
                                                                          )                SEALED
                                                   SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                          Eastern  District of            California
(identify the person or describe the property to be searched and give its location):

SEE ATTACHMENT A, attached hereto and incorporated by reference.

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

SEE ATTACHMENT B, attached hereto and incorporated by reference.

          YOU ARE COMMANDED to execute this warrant on or before             -XO\               (not to exceed 14 days)
          in the daytime 6:00 a.m. to 10:00 p.m. ; at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to: any authorized U.S. Magistrate Judge in the Eastern
District of California.
        Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
         for        days (not to exceed 30)     until, the facts justifying, the later specific date of                          .


Date and time issued:            -XQHDWSP
                                                                                                           Judge’s signature

City and state:             Sacramento, California                                           Carolyn K. Delaney, U.S. Magistrate Judge
                                                                                                         Printed name and title


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                                                           Return
Case No.:                     Date and time warrant executed:       Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                        Certification


    I swear that this inventory is a true and detailed account of the person or property taken by me on the warrant.



                      _____________________________________________________________

                    Subscribed, sworn to, and returned before me this date.



        ____________________________________________                        ______________________________
                                 Signature of Judge                                     Date
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